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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO


  Civil Action No. 20-cv-03691-RBJ-SKC

  MANUEL ALEJANDRO CAMACHO,

         Plaintiff,

  v.

  CORDOVA, Deputy;
  BUEN, Deputy;
  DIBIASI, Deputy;
  SMITH, Captain; and
  CLEAR CREEK COUNTY SHERIFF’S OFFICE,

         Defendants.


          DEFENDANTS’ SECOND MOTION TO AMEND SCHEDULING ORDER


         Defendants, JACOB CORDOVA, ANDREW BUEN, NICK DIBIASI, JEFF SMITH,

  and CLEAR CREEK COUNTY SHERIFF’S OFFICE (collectively, “Defendants”), by and

  through their attorneys, SGR, LLC, pursuant to Fed.R.Civ.P. 6(b)(1)(a), hereby submit their

  Second Motion to Amend the Scheduling Order.

         AS GROUNDS THEREFOR, Defendants state the following:

                               I.     STATEMENT OF CONFERRAL

         Upon information and belief, Plaintiff, pro se, is currently incarcerated at Arrowhead

  Correctional Center in Cañon City, Colorado. Pursuant to D.C.COLO.LCiv.R 7.1(b)(1),

  Defendants were not required to confer with Plaintiff before filing this motion.
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                                          II.    MOTION

         1.      On April 14, 2022, Defendants filed a Motion to Compel Plaintiff to respond to

  written discovery and, as grounds therefor, Defendants detailed their efforts in sending discovery,

  as well as their written and emailed follow-up, to which there had been there no response. [ECF

  No. 69].

         2.      On June 3, 2022, Defendants had still not received discovery from Plaintiff and

  moved this Court to Amend the Scheduling Order, seeking to extend both the discovery deadline

  and the dispositive motion deadline; they had been set for June 3, 2022, and July 8, 2022,

  respectively. Defendants outlined the same efforts mentioned above. [ECF No. 71].

         3.      On June 17, 2022, with both motions pending, Defendants notified the Court of

  their intention to File for Summary Judgment, noting that they had not yet received discovery

  materials, and that Defendants would like to ensure that discovery is complete before the

  dispositive motion deadline. [ECF No. 73].

         4.      On June 23, 2022, the Court granted Defendants’ Motion to Compel, ordering

  Plaintiff to respond to Defendants’ discovery requests by July 7, 2022. [ECF No. 76].

         5.      Also on June 23, 2022, the Court granted Defendants’ Motion to Amend the

  Scheduling Order, setting a new discovery deadline of August 2, 2022, and a new dispositive

  motion deadline of September 6, 2022. [ECF No. 77].

         6.      However, discovery issues continued after the date set forth in the Motion to

  Compel.

         7.      On July 18, 2022, Defendants filed notice with the Court that they still had not yet

  received Plaintiff’s discovery responses or materials, as the Court had ordered. [ECF No. 85].



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         8.       On July 28, 2022, Plaintiff requested status and, in his request, he indicated that the

  Department of Corrections (“DOC”) was rejecting mail from Defendants. [ECF No. 86].

         9.       On August 1, 2022, the Court ordered Defendants to resubmit discovery to Plaintiff,

  “with the envelope clearly marked as coming from attorneys with bar numbers showing,” and to

  file a certificate of service with the Court. [ECF No. 87].

         10.      Defendants complied with this Order, and on the next day, the Court received a

  Certificate of Service to Plaintiff at both his DOC address and one he had previously provided.

  [ECF No. 88].

         11.      On August 24, 2022, Plaintiff filed a Motion for Extension or Stay, and in said

  motion he noted that the DOC had once again rejected Defendants’ discovery, this time because

  “Address does not match address in bar registry.” He requested a twenty-one (21) day extension.

  [ECF No. 93].

         12.      On August 25, 2022, the Court granted Plaintiff’s motion. [ECF No. 94].

         13.      Also on August 25, 2022, Defendants filed a Notice of Attempted Service of

  Written Discovery detailing their efforts to deliver discovery to Plaintiff that complied with all

  applicable DOC regulations. Defendants stated that they had again re-sent discovery, in such

  manner as to avoid the same issue arising again, and reiterated that they had sent written discovery

  to two addresses provided by Plaintiff and not just the Arrowhead address. [ECF No. 95].

         14.      The current dispositive motion deadline is September 6, 2022.

         15.      Defendants respectfully request a thirty (30) day extension of this deadline and, as

  good cause therefor, Defendants state that they wish to receive Plaintiff’s discovery responses




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  before filing a dispositive motion as Plaintiff’s responses may clarify whether there are any

  genuine issues of material fact thereby affecting Defendants’ strategy.

         16.     A thirty (30) day extension would create a new dispositive motion deadline of

  October 6, 2022.

         17.     Granting Defendants’ Second Motion to Amend Scheduling Order will not

  prejudice any party in this case.

         18.     Undersigned counsel certifies that he is serving a copy of this motion on his clients

  upon filing in accordance with D.C.COLO.LCiv.R 6.1(c).

         Wherefore, Defendants respectfully request that the Court enter an Order amending the

  Scheduling Order, such that the dispositive motion deadline is extended thirty (30) days, up to and

  including October 6, 2022.




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                                       Respectfully submitted,


                                       /s/ Eric M. Ziporin
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                                       Attorneys for Defendants Cordova, Buen,
                                       Dibiasi, and Clear Creek County Sheriff’s
                                       Office




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                                CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on this 30th day of August, 2022, I electronically filed a true
  and correct copy of the above and foregoing DEFENDANTS’ SECOND MOTION TOAMEND
  SCHEDULING ORDER with the Clerk of Court using the CM/ECF system. I further certify
  that I mailed said document to the following non-CM/ECF participant by U.S. Mail, first class
  postage prepaid:

         Manuel A. Camacho via U.S. Mail
         5904 Oneida Street
         Commerce City, CO 80022

         Manuel A. Camacho via U.S. Mail
         Register No. 69393
         Unit: C-2L-2
         Box No. 300
         Canon City, CO 81215

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                                                s/ Barbara A. Ortell
                                                Barbara A. Ortell
                                                Legal Secretary




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